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                                                                                               August 30, 2021
VIA ECF

The Honorable Tonianne J. Bongiovanni, U.S.M.J.
United States District Court
Clarkson S. Fisher Federal Building & U.S. Courthouse
402 E. State Street
Trenton, New Jersey 08608

      Re:     Supernus Pharmaceuticals, Inc. v. Apotex Inc., et al.
              Civil Action No. 20-7870 (FLW)(TJB)

Dear Judge Bongiovanni:

      This firm, together with Haug Partners LLP, represents plaintiff Supernus
Pharmaceuticals, Inc. (“Supernus”) in the above-captioned matter.

        We write on behalf of Supernus and Defendants Apotex Inc. and Apotex Corp. (together,
“Apotex”) to respectfully request that the Court unseal Supernus’s August 20, 2021 Letter to
Chief Judge Wolfson (D.I. 71). Supernus’s August 20 Letter was filed temporarily under seal
out of an abundance of caution because Supernus believed it might have contained Apotex’s
confidential information. However, the parties have since conferred, and Apotex’s counsel has
confirmed that the August 20 Letter does not contain Apotex’s confidential information.
Accordingly, we respectfully request that Your Honor sign the below form of endorsement
ordering that the clerk unseal the August 20 Letter, and have it entered on the docket.

        Thank you for Your Honor’s kind attention to this matter.

                                                                        Respectfully yours,



                                                                        Sarah A. Sullivan
cc:     All Counsel (via email)

SO ORDERED:


__________________________________
Hon. Tonianne J. Bongiovanni, U.S.M.J.




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